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               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF GEORGIA
                       GAINESVILLE DIVISION

UNITED STATES OF AMERICA
                                           CRIMINAL ACTION NO.
     v.                                    2:20-CR-00023-SCJ-JCF-1

JESSE JAMES SMALLWOOD


 DEFENDANT JESSE JAMES SMALLWOOD’S BRIEF IN SUPPORT OF HIS
 MOTION TO SUPPRESS EVIDENCE RESULTING IN A WARRANTLESS
    SEIZURE OF MR. SMALLWOOD AND AUTOMOBILE SEARCH

      COMES NOW DEFENDANT, JESSE JAMES SMALLWOOD and files

this brief in support of his motion to suppress evidence. On November 4, 2020,

Mr. Smallwood filed a motion to suppress evidence resulting in a warrantless

seizure of Mr. Smallwood and Automobile Search. [Doc. 86]. An evidentiary

hearing was conducted on April 28, 2021.        [See Doc. 141, Transcript of

Evidentiary Hearing (“Tr.”)].

I.    STATEMENT OF FACTS

      In the early morning hours of June 2, 2020, Mr. Smallwood was

approached by Gainesville Police Department (“GPD”) officer, Israel Cazares,

while Mr. Smallwood was seated inside his car. The car was parked at the

QuikTrip located at 1910 Jesse Jewell Parkway in Gainesville, Georgia. Inside

the car was Mr. Smallwood and four males. Officer Cazares directed Mr.
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Smallwood to step out of his car. Officer Cazares questioned Mr. Smallwood,

arrested him and searched his car.

      Mr. Smallwood was incarcerated at the Hall County Jail until he was

transferred to the Robert A. Deyton detention facility after he was charged in a

federal indictment filed in this district on June 16, 2020. Mr. Smallwood and

the four males in the car on June 2, 2020 were charged in an indictment with

conspiracy to commit arson, and arson, in violation of federal laws. On June

23, 2020, Mr. Smallwood appeared by video for his initial appearance in the

instant case.

      Mr. Smallwood’s motion to suppress challenges the June 2, 2020 stop and

search of his car and, any statements made by Mr. Smallwood following his

detention. Specifically, Mr. Smallwood moves to suppress all fruits obtained

from the illegal search and seizure, including any flare gun, flare casings or

ammunition, fingerprints, and any other physical evidence taken as a result of

that seizure, as well as any statements allegedly made by Mr. Smallwood

subsequent to the unlawful search and seizure.

      At the evidentiary hearing on April 28, 2021, witnesses testified about the

June 2, 2020 stop, arrest and search of the car.

      GPD Officer Andrew Shoemaker testified he was just finishing his patrol

shift when he heard a call over dispatch about a patrol car being on fire. (Tr.,



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at 8). He knew the courtesy officer who lived at the apartment complex so he

headed to respond to the call. (Id. at 9). When Officer Shoemaker arrived at

the scene, he saw the patrol car on fire and used his fire extinguisher to put out

the fire. (Id. at 11). Officer Shoemaker testified that his supervisor, Sergeant

Jones, spoke with a caller who provided a description of an older model classic

vehicle, Impala size, with 4-5 males in the car, dark in color. (Id. at 12).

       A BOLO was issued for a car matching that description and Officer

Shoemaker testified that he saw a car matching that description: “an older

model black Crown Vic… and I saw four to five, I thought it was four but it

could be five later on, but there were four individuals in the car.” (Id. at 15).

Officer Shoemaker testified that the car “was stopped at a red light at E.E. Butler

waiting to turn left.” (Id.). Officer Shoemaker did not follow the car but called

it into dispatch. (Id. at 16).

       When Officer Shoemaker called it into dispatch there was no description

about whether the windows were up or down, or whether the car was the same

color throughout top and bottom, or what color the occupants’ skin was, or

whether they had any facial hair or wore hats or glasses, just that there was a

car matching the earlier description stopped at a light at E.E. Butler headed

south. (Id. at 32). Officer Shoemaker had no idea where the car went as he did




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not follow it and, admittedly, he did not know if it was the same car later found

at the QuikTrip. (Id. at 33).

      GPD Officer Israel Cazares was also on patrol duty the morning of June

2, 2020 when he heard the description over the radio of “an older model, classic

dark-colored car occupied by multiple people.” (Id. at 41). The previous

evening, protests were held in Gainesville related to the death of George Floyd.

(Id. at 39). Officer Cazares testified that he and multiple officers were looking

for the car described in the BOLO. (Id. at 42). Officer Cazares testified that he

heard Officer Shoemaker relay over the dispatch radio that he had seen the car

in the BOLO description. (Id. at 44-45). Officer Cazares headed in the direction

where Officer Shoemaker said he saw the car. (Id.). Officer Cazares testified

that he saw a “dark-colored Crown Victoria sitting in the parking lot” and he

pulled into the QT. (Id. at 47).

      Officer Cazares testified that he parked his car at an angle facing the car,

turned on his lights and approached the car. (Id. at 49). As he approached the

car, Officer Cazares activated his body camera. 1 (Id.). Officer Cazares testified




1 The government tendered, and the court admitted, a copy of the recording
from Officer Cazares’ body camera at the hearing, as Government’s Exhibit 1
(hereinafter referred to as “Vid.”). (Id. at 63).


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that he did not have a recording from the in-car camera because it had

previously been malfunctioning. (Id. at 50-51).

       While he could not remember, Officer Cazares shone a flashlight in the

driver’s face as he approached the car.          (Vid., at 00:34).   With a second

uniformed officer approaching from the right and another officer approaching

from the rear, Officer Cazares ordered the driver, Jesse Smallwood, to step out

of the car. (Id.) (Tr., at 53). While maintaining the flashlight pointed at Mr.

Smallwood, Officer Cazares immediately began firing questions at Mr.

Smallwood, asking about his whereabouts and his activities that night. (Vid.,

at 00:56). Officers from multiple agencies arrived simultaneously on the scene

during this time. (Vid., at 00:37).

       After questioning Mr. Smallwood about his whereabouts, Officer

Cazares testified that he asked him if he could search his car “to which he

initially   didn’t   give   a   definite       answer   so   I   then   asked   for

clarification…[b]ecause he didn’t say yes or no, he was just kind of re-asking

my question about searching the vehicle.” (Tr., at 55-56).

       Mr. Smallwood was searched and no weapons were found on his body.

(Id. at 59). Officer Cazares testified that he told Mr. Smallwood to step out of

his car. (Id. at 73). Mr. Smallwood was not free to leave. (Id. at 73-74). Mr.

Smallwood was detained. (Id.). At no point did Officer Cazares advise Mr.



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Smallwood of his Miranda rights. (Id. at 85). Multiple law enforcement officers

in full uniform and numerous marked patrol cars were at the QuikTrip during

this time. (Vid., at 11:12). Every law enforcement officer on the scene was in

full uniform and between the officers and their cars, Mr. Smallwood and his

car were surrounded. (Id. at 77-78).

       Officer Cazares testified that he was assisted by a Hall County Deputy in

the search of the car. (Id. at 58). The Hall County Deputy found shell casings.

(Id. at 60). Officer Cazares found a flare gun in the little pouch behind the

driver’s seat. (Id.).

II.    ARGUMENT AND CITATION OF AUTHORITY

       The Fourth Amendment to the United States Constitution protects “[t]he

right of people to be secure in their persons, houses, papers, and effects, against

unreasonable searches and seizures . . . .” U.S. CONST. amend IV. The Supreme

Court has stated, regarding the protections against search and seizure provided

by the Fourth Amendment:


       This protection reaches all alike, whether accused of a crime or not,
       and the duty of giving to it force and effect is obligatory upon all
       intrusted under our Federal system with the enforcement of the
       laws. The tendency of those who execute the criminal laws of the
       country to obtain conviction by means of unlawful seizures and
       enforced confessions, the latter often obtained after subjecting
       accused persons to unwarranted practices destructive of rights
       secured by the Federal Constitution, should find no sanction in the
       judgments of the courts, which are charged at all times with the


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      support of the Constitution, and to which people of all conditions
      have a right to appeal for the maintenance of such fundamental
      rights.

Weeks v. United States, 232 U.S. 383, 392, 34 S. Ct. 341, 344 (1914).

      “Reasonableness” is the ultimate touchstone for addressing the

constitutionality of a search under the Fourth Amendment. See Florida v.

Jimeno, 500 U.S. 248, 250, 111 S. Ct. 1801, 1803 (1991). The general rule in the

criminal context is that warrantless searches “are per se unreasonable under the

Fourth Amendment—subject to only a few specifically established and well-

delineated exceptions.” Mincey v. Arizona, 437 U.S. 385, 390, 98 S.Ct. 2408, 2412

(1978) (quoting Katz v. United States, 398 U.S. 347, 357, 88 S. Ct. 507, 514 (1967));

see also United States v. McGregor, 31 F.3d 1067, 1068 (11th Cir. 1994).

      Traffic stops conducted by law enforcement officers are “seizures” of

one’s person within the meaning of the Fourth Amendment. United States v.

Purcell, 236 F.3d 1274, 1277 (11th Cir. 2001). The Constitution tolerates those

intrusions, but only when they are done in a manner that is “reasonable.” The

legality of vehicle stops is analyzed under the standard set forth in Terry v. Ohio,

which permits a police officer to stop and briefly detain a person “for purposes

of investigating possible criminal behavior even though there is not probable

cause for an arrest,” as long as there is reasonable articulable suspicion that the

individual has committed or is about to commit a crime. Terry v. Ohio, 392 U.S.



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1, 21-22, 88 S.Ct. 1868, 1880 (1968). Under the automobile exception to the

warrant requirement, “agents may conduct a warrantless search of a vehicle if

(1) the vehicle is readily mobile (i.e., operational); and (2) agents have probable

cause to believe the vehicle contains contraband or evidence of a crime.” United

States v. Tamari, 454 F.3d 1259, 1264 (11th Cir. 2006). However, it has long been

established that such stops cannot be baseless, simply routine, or indefinite.

Instead, a reasonable police traffic stop is one that is supported by reasonable

suspicion and limited in scope and duration. Purcell, 236 F.3d at 1279; see also

United States v. Everett, 601 F.3d 484, 488–89 (6th Cir. 2010).

      The Government has the burden to prove that departure from the

warrant requirement was justified. United States v. Blasco, 702 F.2d 1315 (11th

Cir. 1983). Under the doctrine of the fruit of the poisonous tree, if the initial

seizure and search was illegal then evidence seized subsequently or derived

from the illegal seizure, including statements, should be suppressed. See New

York v. Harris, 110 S.Ct. 1640, 1643 (1990); Brown v. Illinois, 422 U.S. 590, 95 S.Ct.

2254 (1975); and Wong Sun v. United States, 371 U.S. 471, 83 S.Ct. 407 (1963).

      Whether an individual’s consent to a warrantless search was given

voluntarily is a question of fact that must be decided in light of the totality of

the circumstances. United States v. Purcell, 236 F.3d 1274 (11th Cir. 2001). The

government bears the burden of proving that the consent was not a function of



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acquiescence to a claim of lawful authority, but rather was given freely and

voluntarily. United States v. Tovar-Rico, 61 F.3d 1529 (11th Cir. 1995). The

Eleventh Circuit has enumerated a non-exhaustive list of factors to be

considered when determining whether consent was voluntary: voluntariness

of the defendant’s custodial status, the presence of coercive police procedure,

the extent and level of the defendant’s cooperation with police, the defendant's

awareness of his right to refuse to consent to the search, the defendant’s

education and intelligence, and, significantly, the defendant’s belief that no

incriminating evidence will be found. United States v. Chemaly, 741 F.2d 1346,

1352 (11th Cir.1984), vacated, 741 F.2d 1363, reinstated on reh'g, 764 F.2d 747 (11th

Cir.1985) (en banc)(quoting United States v. Phillips, 664 F.2d 971, 1023-24 (5th

Cir. Unit B 1981) (footnotes omitted)).

      “‘Consent’ that is the product of official intimidation ... is not consent at

all.” Florida v. Bostick, 501 U.S. 429, 438 (1991). “[F]or consent to a search to be

deemed voluntary, it must be the product of an essentially free and

unconstrained choice.” United States v. Garcia, 890 F.2d 355, 360 (11th Cir. 1989).

      Analysis of the factors shows that the consent here was not voluntary but

was mere acquiescence to a show of authority. Mr. Smallwood was not free to

leave; he was not told he could refuse consent; he was asked for consent after

being removed from his car by a uniformed police officer. If Mr. Smallwood



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gave consent prior to the car being searched, then he did not do so freely and

voluntarily, but merely acquiesced to a show of authority.

      1. Custodial Status

      Mr. Smallwood was removed from his car when GPD Officer Cazares

directed him to step out of his car. Officer Cazares testified Mr. Smallwood

was not free to leave, he was unquestionably detained. While he was not

handcuffed at the moment that the alleged consent was given, he clearly did

not believe he was free to leave. This factor weighs in favor of the consent not

being voluntary.

      2. Presence of Coercive Police Procedure

      This factor also weighs in favor of finding consent not to be voluntary.

Numerous law enforcement officers from various law enforcement agencies

were present at the QuikTrip on June 2, 2020. Each officer was uniformed and

armed and each officer had his/her own police vehicle that surrounded Mr.

Smallwood and his car. These tactics were designed to intimidate and create

compliance, not generate voluntary consent.

      3. The Extent of Cooperation with the Police

      On June 2, 2020, Jesse Smallwood was a 21 year old kid who had never

been in any trouble with the police. Naturally, he was cooperative when he




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was approached by Officer Cazares, however, that alone cannot render the

consent voluntary.

      4. Awareness of Right to Refuse Consent

      Mr. Smallwood was never told he could refuse to consent to a search of

his car. This factor weighs in favor of finding no valid consent.

      5. Belief Incriminating Evidence Would Be Found

      There is no evidence in the record about Mr. Smallwood’s belief as to

whether incriminating evidence would be found in his car. All that we know

is that he had never been in trouble before and felt pressured to consent to a

search of his car. This factor also weighs in favor of finding consent was not

voluntarily given.

      Officer Cazares chose not to tell Mr. Smallwood that he could refuse

consent to search his car. As is evident on the video recording and supported

by Officer Cazares’ testimony, Mr. Smallwood did not definitely answer when

asked if his car could be searched. Instead, he repeated Officer Cazares’

question, a common stall tactic.

      Pursuant to the Supreme Court’s decision in Miranda v. Arizona, 384 U.S.

436, 468-69, 86 S.Ct. 1602, 1625 (1966), a suspect who is in custody must be

advised of his rights to remain silent and to the assistance of counsel prior to

any interrogation. Evidence obtained in violation of Miranda is inadmissible,



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and the government bears the burden of showing that a defendant made a

knowing, intelligent, and voluntary waiver of his right to counsel. See United

States v. Pharr, 716 F.2d 796, 817 (11th Cir. 1983).

      Any statements made by Mr. Smallwood on June 2, 2020 when he was

ordered out of his car and questioned in the parking lot of the QuikTrip,

without any valid waiver of his Miranda rights, should be suppressed. There is

no dispute, and in fact, Officer Cazares admitted during the evidentiary

hearing, that Mr. Smallwood was detained and not free to leave when he was

questioned by Officer Cazares. (Id. at 73-74).

      Mr. Smallwood believes that law enforcement lacked the requisite level

of constitutional cause to stop and arrest him. Additionally, there was no basis

to search his car without a warrant. It is undisputed that the stop and arrest of

Mr. Smallwood was conducted without a warrant. The June 2, 2020 stop and

search of Mr. Smallwood’s car and person yielded several pieces of evidence

relevant to Mr. Smallwood’s suppression motion: the shell casings and the flare

gun found during the search of the car. Mr. Smallwood asserts that the

evidence found in the car on June 2, 2020 should be suppressed because there

was no probable cause to support a warrantless search.           Moreover, Mr.

Smallwood did not voluntarily consent to a search of his car. Surrounded by

uniformed and armed police officers in the early morning hours after attending



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a protest for the death of George Floyd, an unarmed man killed by a police

officer just a few weeks earlier, Mr. Smallwood did not voluntarily consent to

a search of his car but merely acquiesced to a show of authority.              The

government bears the burden of justifying the actions of its officers. Katz v.

United States, 389 U.S. 347, 357 (1967); see also United States v. McGregor, 31 F.3d

1067, 1068 (11th Cir. 1994). For all of the above reasons, Mr. Smallwood’s

statements and the search of his car should be suppressed.

III.    CONCLUSION

        Wherefore, for all the above-stated reasons, Mr. Smallwood respectfully

requests that this Court grant his motion to suppress the evidence obtained in

the warrantless search of his car, which was not supported by probable cause

nor by a voluntary consent, and any statements made by Mr. Smallwood in

violation of his Miranda rights.

        Respectfully Submitted, this 10th day of June, 2021.

                                         /s/ Judy A. Fleming
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                                        GEORGIA BAR NO. 431198
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